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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                               ) Chapter 7
                                                      )
 eNeura, Inc.,                                        ) Case No. 20-11930 (BLS)
                                                      )
                  Debtor.                               Re: Docket Nos. 27, 30, 33
                                                      )

  THIRD AMENDED NOTICE OF TRUSTEE’S INTENT TO ABANDON PROPERTY

To the Creditors and Other Parties in Interest:

          PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 554(a) and Federal Rule of

Bankruptcy Procedure 6007, the undersigned, duly qualified and acting trustee (the “Trustee”) of

the estate (the “Estate”) of the above captioned Debtor, intends to and will abandon the following

described property (the “Property”) as burdensome and of inconsequential value to the Estate. The

Property will be abandoned unless, before November 30, 2020 at 4:00 p.m., a creditor or other

interested party files a written objection and request for hearing with the clerk of the Bankruptcy

Court, at 824 Market Street, 3rd Floor, Wilmington, Delaware 19801, and serves a copy of such

request on the Trustee herein at the address listed below and upon the United States Trustee, 844

King Street, Suite 2207, Wilmington, DE 19801.

          The Trustee reserves the right to withdraw this notice in the event that he receives an offer

to purchase the assets for an amount in excess of the secured claims or that is otherwise acceptable

to the secured creditors and provides a reasonable carve-out for administrative expenses and other

creditors.
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          The Trustee intends to abandon the following Property:

    Property                          Value Per          Lienholder       Lien Amount       Exempt
                                      Schedules

    All assets listed on Debtor’s     $374,180.13        Various, as      Approximately N/A
    Schedule A/B                                         identified on    $6,947,005.091
                                                         Debtor’s
                                                         Schedule D

          Objections not timely filed and served may be deemed waived.

Dated: November 20, 2020                          /s/ Mark E. Felger
                                                  Mark E. Felger (DE No. 3919)
                                                  Gregory F. Fischer (DE No. 5269)
                                                  Cozen O’Connor
                                                  1201 N. Market Street, Suite 1001
                                                  Wilmington, DE 19801-1147
                                                  Telephone (302) 295-2000
                                                  mfelger@cozen.com
                                                  gfischer@cozen.com

                                                  Proposed Counsel to Jeoffrey L. Burtch,
                                                  Chapter 7 Trustee




1
    This value is an approximate amount based on the numbers in the Debtor’s Schedules.


                                                     2
